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                      EXHIBIT 1
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK

   ROBERT SAMPSON,                                  :
                                                    :
                      Plaintiff                     :
                                                    :   CIVIL ACTION NO. 22-cv-04490 JMA
                         v.                         :
                                                    :
   STONY BROOK UNIVERSITY, et al.                   :
                                                    :
                    Defendants.                     :
                                                    :

                              DECLARATION OF ROBERT SAMPSON

  I, Robert Sampson, make the following declaration upon personal knowledge:

     1. I am a joint MD/MBA student and have paid tuition, taken and passed all courses, and

         otherwise been and remain a student in good standing jointly at Stony Brook University’s

         School of Medicine and its School of Business.

     2. I developed and received two patents for medical systems. Accordingly, a Master of

         Business Administration program and degree offer benefits for my skill set.

     3. When I decided to pursue a joint degree at Stony Brook University, my first step was to

         review all of Stony Brook’s policies that were available online to determine if it was

         possible for me to pursue a joint MD/MBA and if so, what the proper steps for me to take

         were to pursue such a joint degree program.

     4. Because there was not much information about the MD/MBA program online, I

         contacted Dr. Cohen who is the Associate Dean of Student Affairs at the School of

         Medicine to find out what I needed to do to become a joint degree student.

     5. On April 29, 2021, I emailed Dr. Cohen and let him know of my interest in becoming a

         joint degree student. I wrote, “there wasn’t much information on any Stony Brook

         website about the program” and inquired “Given the extra time that is in my curriculum,
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        do you think it’s possible that I can fit in an MD/MBA program at Stony Brook.” A true

        and correct copy of this email chain is attached as Exhibit 1-A.

     6. Dr. Cohen responded, “That’s an interesting thought. I’ll look into it and see what the

        requirements are. I think the timing will be tight though given that you have to finish all

        of Phase 2 before starting Phase 3. In any case, lets [sic] set up another meeting to talk

        about this and go over your plans for next year.” Ex. 1-A.

     7. I sought greater clarification and asked Dr. Cohen, “Is there an advisor I can speak to

        about the program to see if it fits? I really couldn’t find any information online about who

        is in charge of this program, especially from the MD side. It could be a good option given

        my business and entrepreneurial experience. I think having more information about this

        would help me have a more informed discussion with you about scheduling, but I can

        meet whenever it is convenient for you.” Ex. 1-A.

     8. I met with Dr. Cohen to discuss, among other things, becoming a joint MD/MBA student.

        He indicated during that meeting that he would provide contact information for the

        person I should reach out to at the business school. Thereafter in a May 14, 2021, email

        Dr. Cohen provided me with the name of the contact at the business school that he had

        promised. I followed up as directed and spoke with the contact at the business school.

     9. Based on these conversations with Dr. Cohen at the medical school and the contact he

        provided at the business school, I decided to apply to become a joint degree student.

        Notably, unlike a student applying to the College of Business who would be required to

        submit a personal statement, resume and application fee, as a prospective joint MD/MBA

        student I was not required to do any of these things. Instead, the medical school only

        needed to forward my medical school application materials to the business school.
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     10. I again emailed Dr. Cohen and informed him, “I would like to submit an application

        today to the school of business regarding the conversation I had with them last week. Do

        you have 5 minutes to speak today? I have a question I would like to ask you before I do

        that.” Dr. Cohen responded, “Sure – Let me know when you have time.” Thereafter we

        spoke again about my intent to apply to become a joint MD/MBA student. The express

        purpose of such communications from my perspective was to ensure I was doing

        everything the medical school needed me to do to become a joint degree student. Ex. 1-B,

        Email Chain between Dr. Cohen and Robert Sampson dated May 17, 2021.

     11. Thereafter, based on my discussions with Dr. Cohen, I sent him an email on May 17,

        2021, titled “MD/MBA discussion” in which I requested that he direct the School of

        Medicine’s registrar, Caroline Lazzaruolo, “forward the admissions materials used to

        apply to medical school (i.e. AMCAS, letters of recommendation) to Joyce Gibson at the

        Stony Brook University College of Business, for consideration for the MBA program.”

        Ex. 1-B.

     12. In response, Dr. Cohen emailed Ms. Lazzaruolo asking, “Is this something we can do for

        him?” Ex. 1-B.

     13. Ms. Lazzaruolo then forwarded the question to Jeanine Fazzini in the Office of Student

        Affairs in the School of Medicine. Ms. Fazzini responded to Dr. Cohen, Ms. Lazzaruolo,

        and myself, “The file has been sent.” Ex. 1-B.

     14. I was accepted into the MD/MBA program and was permitted to enroll and take classes

        which overlapped with my medical school clinical rotations and a medical school

        elective.
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     15. At no time did Dr. Cohen or anyone else tell me I needed to take a leave of absence in

        order to pursue a joint degree.

     16. I have maintained my status as a student in good standing in both the MD and MBA

        programs at Stony Brook University and have maintained a 4.0 GPA in the business

        school. See Ex. 1 ¶ 3 ([Dckt. 3-2]

     17. The medical school has been highly inconsistent in their communications with me about

        graduation dates.

     18. In June 2020, the CAPP Committee recommended I be dismissed from medical school

        because I could not at that time complete my medical degree in seven years. [Dckt. 14-9]

     19. I appealed this decision and the Dean of the medical school reversed the decision that had

        kept me in limbo for years and allowed me to proceed with my medical education at a

        time when the medical school had explicitly stated it was not possible for me to complete

        my degree in 7 years. The medical school made contradictory statements telling me that

        the decision of the CAPP committee was reversed but also still mentioned the 7 year

        requirement. I repeatedly sought clarification of this point. I repeatedly went to Dr.

        Cohen to seek clarity. I was doing everything asked of me in terms of classes, I was a

        student in good standing, I was paying tuition, and I was, of course, a joint degree

        student.

     20. The Dean of the medical school reversed the CAPP committee decision that I be

        dismissed and allowed me to continue with my education and paying tuition.

     21. When I continued to get mixed messages from the medical school which had reversed my

        dismissal and was allowing me to continue towards my medical degree, I sought

        clarification from the Dean. In July 2021, I drafted an email to the medical school Dean
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        in regards to this issue. One challenge is that the leadership of the medical school has

        continued to change over time so the new leadership was not necessarily aware of the

        history of my situation. In this email I explained the issues relating to my learning

        disabilities and how my need for accommodations from the NBME was critical. In his

        Declaration, Stony Brook University omits that in response to my email to Dr. Cohen

        noting that I was already into the third week of my joint MD/MBA class, Dr. Cohen

        responded, “Thanks for keeping me in the loop. I think your email is perfect. Let me

        know if you hear anything.” Exhibit 1-C, Email chain between Dr. Cohen and Robert

        Sampson dated July 2021. Dr. Cohen did not state in response to my indication that I was

        already taking business school classes that I needed to take a leave of absence.

     22. In meetings with me, Dr. Cohen at times referenced a graduation date of December 2022

        or May 2023 both of which were of course after the expiration of the 7 year requirement

        and inconsistent with letters from Stony Brook’s counsel that came later and which

        moved my graduation date earlier, requiring I complete my medical degree by August

        2022. Exhibit 1-D, Email between Dr. Cohen and Sampson dated May 11, 2021.

     23. In addition to many verbal discussions with Dr. Cohen, I had explicit discussions with the

        registrar for the medical school who is responsible for tracking and certifying medical

        student graduation dates, about when I would graduate. She specifically discussed with

        me the possibility of graduating in December 2022 by email or May 2023 verbally.

        Exhibit 1-E, Email between Lazzaruolo dated December 15, 2020. There was an explicit

        discussion that May 2023 would allow me to proceed to residency match with my class,

        rather than being off-cycle, and there was discussion of my continued challenges in

        getting necessary accommodations from the NBME.
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     24. Based on multiple discussions with the medical school about graduating in December

         2022 or May 2023, I put May 2023 on the certification form as my graduation date. The

         registrar was fully aware of the confusion about graduation dates and signed the form

         certifying that my graduation date was May 2023.

     25. Stony Brook University took my tuition dollars for both programs and awarded me

         credits for successful completion of coursework in both programs.

     26. The last thing I ever wanted to do was sue my university and the National Board of

         Medical Examiners. My university will write the recommendations for my residency

         applications. Litigation is not only adversarial in a way I had hoped to avoid, it is

         expensive and it forces me to be public about my disabilities and the most challenging

         experiences of my life in a way that may count against me going forward with residency

         programs and employers. I filed suit only when every other effort to avoid suit had failed

         because there was no alternative.


  I declare under penalties of perjury that the foregoing is true and correct.


  DATED:         September 23, 2022



                                                        _______________________________
                                                        Robert Sampson
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                  EXHIBIT 1-A
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    Dear Dr. Cohen,

    Given the extra me that is in my curriculum, do you think it's possible that I can ﬁt in an
    MD/MBA program at Stony Brook? I read that the MBA component was an extra 48 credits,
    but that 6 are co-mingled with the SOM. They also accept some transfer credits, and I'm
    wondering if any courses from the school of medicine, and perhaps my business experience
    would count towards that credit requirement. Please let me know what you think; there
    wasn't that much informa on on any Stony Brook website about the program. How many
    months do 48 credits generally take?

    Best,

    Robert
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                  EXHIBIT 1- B
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Hi Robert,

Hope you are doing well!

Sure - let me know when you have me. I will be in the CSC w/ students throughout the day.

Best,
DC




David Cohen, MD
Associate Dean of Student Aﬀairs
Associate Professor of Emergency Medicine
Renaissance School of Medicine at Stony Brook University




From: Sampson, Robert <Robert.Sampson@stonybrookmedicine.edu>
Sent: Monday, May 17, 2021 7:22 AM
To: Cohen, David <David.Cohen@stonybrookmedicine.edu>
Subject: MBA
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  From:    Fazzini, Jeanine C. Jeanine.Fazzini@stonybrookmedicine.edu
Subject:   RE: MD/MBA discussion
   Date:   May 18, 2021 at 3:03 PM
     To:   Lazzaruolo, Caroline R. Caroline.Lazzaruolo@stonybrookmedicine.edu
    Cc:    Cohen, David David.Cohen@stonybrookmedicine.edu, Sampson, Robert Robert.Sampson@stonybrookmedicine.edu


       The ﬁle has been sent.

       Thank you.

       Jeanine

       Jeanine Fazzini
       Office of Student Affairs
       School of Medicine, HSC, Level 4, Room 147
       Stony Brook University Medical Center
       Stony Brook, New York 11794-8432
       Phone: 631-444-9547
       Fax: 631-444-9376
       Email: Jeanine.Fazzini@stonybrookmedicine.edu
       This e-mail message, including any attachments, is for the sole use of the intended recipient(s) and may contain confidential and
       privileged information. Any unauthorized review, use, disclosure or distribution is prohibited. If you are not the intended recipient,
       please contact the sender by e-mail and destroy all copies of the original.


       From: Lazzaruolo, Caroline R.
       Sent: Tuesday, May 18, 2021 11:58 AM
       To: Fazzini, Jeanine C. <Jeanine.Fazzini@stonybrookmedicine.edu>
       Subject: FW: MD/MBA discussion




       Caroline

       Caroline R. Lazzaruolo
       Registrar, Renaissance School of Medicine
       Health Sciences Center, Level 4, Room 149
       Stony Brook, New York 11794-8432
       Phone 631-444-9547
       Fax 631-444-9376
       Email caroline.lazzaruolo@stonybrookmedicine.edu
       SOM Oﬃce of Student Aﬀairs Mailbox: RSOM.studentaﬀairs@stonybrookmedicine.edu
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    From: Cohen, David
    Sent: Tuesday, May 18, 2021 11:57 AM
    To: Lazzaruolo, Caroline R. <Caroline.Lazzaruolo@stonybrookmedicine.edu>
    Subject: Fwd: MD/MBA discussion

    Hi Caroline,

    See below..... is this something we can do for him?

    Thanks!

    Sent from my iPhone

    Begin forwarded message:

          From: "Sampson, Robert" <Robert.Sampson@stonybrookmedicine.edu>
          Date: May 17, 2021 at 10:05:54 PM EDT
          To: "Cohen, David" <David.Cohen@stonybrookmedicine.edu>
          Subject: MD/MBA discussion


          Dear Dr. Cohen,

          As per our discussion, please have Caroline forward the admissions materials used
          to apply to medical school (i.e. AMCAS, leeers of recommendafon) to Joyce Gibson
          at the Stony Brook University College of Business, for considerafon for the MBA
          program. She is the recruitment advisor at the College of Business for the MBA
          program.

          As the applicafon must be received very soon for considerafon, at your earliest
          convenience, please have my admissions materials emailed to
          Ms. Gibson at cobgraduate@stonybrook.edu

          Best,

          Robert Sampson


          This e-mail message, including any aeachments, is for the sole use of the intended
          recipient(s) and may contain conﬁdenfal and privileged informafon. Any
          unauthorized review, use, disclosure or distribufon is prohibited. If you are not the
          intended recipient, please contact the sender by e-mail and destroy all copies of the
          original.
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                  EXHIBIT 1- C
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  From:    Cohen, David David.Cohen@stonybrookmedicine.edu
Subject:   Re: MBA
   Date:   July 19, 2021 at 9:30 AM
     To:   Sampson, Robert Robert.Sampson@stonybrookmedicine.edu


       Hi Robert,

       Thanks for keeping me in the loop. I think your email is perfect.
       I will let you know if I hear anything.

       Best,
       DC



       David Cohen, MD
       Associate Dean of Student Aﬀairs
       Associate Professor of Emergency Medicine
       Renaissance School of Medicine at Stony Brook University




       From: Sampson, Robert <Robert.Sampson@stonybrookmedicine.edu>
       Sent: Sunday, July 18, 2021 11:37 PM
       To: Cohen, David <David.Cohen@stonybrookmedicine.edu>
       Subject: Re: MBA

       Dear Dr. Cohen,

       I hope you had a good weekend. I already sent the Dean this leSer tonight (see below), but
       I thought you should see it too.

       -Robert

       Dear Dean Wertheim,

       I want to thank you again for taking the time to consider my request. As an update, last
       Friday I recently completed my transitional pillar on lipid metabolism, and I am entering the
       third week of my MBA and doing well.

       As you are aware, my academic record has had some red flags beginning with the last
       months of Phase 1 of my basic science curriculum. Unfortunately, I came to a delayed
       awareness of my learning disability and how academically important the receiving of testing
       accommodations was to exhibiting my proficiency in Step examinations. I was inaccurately
       labeled as having academic marginality due to a lack of knowledge, but in reality, I just
       couldn’t read through the test fast enough to finish the exam under standard testing
       conditions. Prior to receiving these accommodations, I would routinely struggle to complete
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    conditions. Prior to receiving these accommodations, I would routinely struggle to complete
    the Step exams, basically guessing on a large swath of the exam because time ran out. The
    hard evidence for this truth is that since receiving testing accommodations, I have passed
    every Step exam I have received accommodations.

    Despite a 3 ½ year hiatus from medical school limbo, I have desperately tried to overcome
    all the obstacles and I think I have thrived clinically throughout my 3rd year clerkships. This
    hardened experience has further solidified my desire to be the best doctor I can be no matter
    how many hoops I have to jump through.

    My perseverance to overcome my learning disability is still in need of getting testing
    accommodations from the NBME and I feel this is critical. I may not be sight-impaired to be
    considered blind by Snellen chart standards, but, nonetheless, my reading disability is real
    and needs to be accommodated.

    I cannot overstate how important your decision is to make the next chapter of my life a
    success in medicine. I need your blessing to gain fair access to the same Step exams as my
    current Class of ‘23, during the winter of 2022.

    Sincerely,

    Robert




    From: Sampson, Robert <Robert.Sampson@stonybrookmedicine.edu>
    Sent: Thursday, July 15, 2021 12:34 PM
    To: Cohen, David <David.Cohen@stonybrookmedicine.edu>
    Subject: Re: MBA

    Dear Dr. Cohen,

    I wanted to share this publicaYon with you in response to your quesYon the other day
    regarding ge[ng accommodaYons from the NBME. It is a bulleYn to provide guidance put
    out by the DOJ I think you might ﬁnd informaYve.

    Best,

    Robert
    From: Cohen, David <David.Cohen@stonybrookmedicine.edu>
    Sent: Thursday, July 1, 2021 8:07 AM
    To: Sampson, Robert <Robert.Sampson@stonybrookmedicine.edu>
    Subject: Re: MBA
    Around 1p could work - have a class in the csc - stop by if your around.

    David Cohen, MD
    Associate Dean of Student Affairs
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                 EXHIBIT 1- D
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Hi Robert,

It was nice talking with you yesterday. It's ok if you want to postpone your CPX exam un l the Spring of 2022
- let me know.
Also, in regards to your class year, since you will be gradua ng in Dec of 2022 you will stay registered in the
2022 class.

Best,
DC


David Cohen, MD
Associate Dean of Student Aﬀairs
Associate Professor of Emergency Medicine
Renaissance School of Medicine at Stony Brook University




From: Sampson, Robert <Robert.Sampson@stonybrookmedicine.edu>
Sent: Monday, May 10, 2021 3:27 PM
To: Cohen, David <David.Cohen@stonybrookmedicine.edu>
Subject: Fwd: CPX Exam - Thursday, June 24th
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Robert,

A er clerkships, you have up to 8 weeks to take Step 1, and then proceed to Phase III. Being a May 2022 graduate isn’t
advisable because you wouldn’t have appropriate me to study for your Step exams. Dec  December 2022 would be the
be er op on.

A er your Phase III required courses are scheduled (Sub-I, ACE, TTR), you’ll be be er able to choose when you’d like to
take Step 2 CK. Four weeks study me should be appropriate for Step 2 CK.

The pillars are a requirement for gradua on. If you aren’t able to take them when the me comes, you’ll be required
to make up the me in extra elec ve weeks.

Because you’ll s ll be in clerkships during the April 2021 Selec ve month, you’ll be required to take the Selec ve in
April 2022 when they’re oﬀered next.

I hope this helps. I hope you’re enjoying your Acute Care Block.

If you have any ques ons, just let me know.




Caroline
